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                          UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE




LORI SAVAGE               )
                          )
v.                        ) CIVIL NO. 1:21-cv-00104-GZS
                          )
LIFE INSURANCE COMPANY OF )
NORTH AMERICA et al       )




                                 ORDER OF DISMISSAL

       This action having been reported settled by counsel on July 14, 2021, and counsel

having failed to file the papers necessary to terminate the action as of record;

       Now therefore, pursuant to Local Rule 41.1(a) this action is DISMISSED with

prejudice and without costs, subject to the right of any party to move to reinstate the action

within one year if the settlement is not consummated.

       FOR THE COURT.

                                           CHRISTA K. BERRY
                                           CLERK



                                           BY:    /s/ Lindsey Tully
                                                  Deputy Clerk

Dated this 17th day of August, 2021.
